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April 18, 2019
The Hon. Ronnie Abrams
US District Court Judge, New York Southern District of New York
40 Center Street (40 Foley Square
New York, New York 10007

               REQUEST AN EXTENSION TO MONDAY, APRIL 29, 2019
Dear Judge Abrams:
The Plaintiff respectfully requests an extension of time to file his opposition to the
state defendants and the individual’s motion to dismiss. I request an extension to
Monday, April 29, 2019.
Yesterday the Plaintiff filed a motion to recuse your Honor and a motion for a
modification of Your Honor’s one-sided stay, which is prejudicial on its face. The
recusal motion is based on federal law, and a Judicial Conference Cannon and
Opinion. They all unequivocally command that your Honor recuse herself.
This is a first impression, unprecedented case against state judicial corruption.
The judicial corruption exists under the cover and protection of the domestic
relations exception to Article III (“DRE”) and judicial immunity.
The complaint and its supporting affidavits are 99 pages long. There are complex
legal issues in the motion, as well as in the proceedings that have ensued.
The Plaintiff has no possibility to get legal representation. No member of the
Federal or New York State bars will risk their income streams to challenge the
federal or state court corruption that the DRE has created. In fact, in this case
involving the DRE, even the members of the legal ethics bar consider it too risky
to challenge your Honor’s conduct. None of the 67 leading members of the
federal court scholars that the Plaintiff has contacted are willing to publicly
condemn the federal courts’ fabrication of the DRE. Yet they all agree that the
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DRE has no basis in law or legal ethics. These are professors whose prestige relies
on their relationships with federal judges.
The defendants will not be prejudiced. request an extension to Monday, April 29,
2019.
                                            Respectfully,
                                            ________/s/________________
                                            Manuel P. Asensio


State and Individual Defendants Counsel
